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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                          CHICAGO DIVISION

 CAROLYN MILLER, on behalf of herself
 and other similarly situated,
                                               Plaintiff,
                                                                                     CASE NO. 1:18-cv-04088
 v.
                                                                                     Hon. Rebecca R. Pallmeyer
 SOUTHWEST CREDIT SYSTEMS, L.P.,
                                               Defendant.




                       DEFENDANT SOUTHWEST CREDIT SYSTEMS, L.P.’S
                       MOTION TO SUBSTITUTE CORRECTED AFFIDAVIT



TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Defendant Southwest Credit Systems, L.P. (“SWC”), and files its Motion

to Substitute Corrected Affidavit, and will show onto this Court as follows:

1.        On March 20, 2019, SWC filed it Motion for Summary Judgment. Doc. 40.

2.        Attached as Exhibit A was an affidavit from Jeff Hazzard. Doc. 40-2. This affidavit

included the attachment of Exhibit D. Doc. 40-2; Doc. 40-5.

3.        Exhibit D was labeled as “Letter received from Community Lawyers Group regarding Ms.

Webber (Miller)’s account” in Hazzard’s affidavit. Doc. 40-2. However, due to a clerical error, a

letter from Plaintiff Carolyn Webber (Miller) was attached to the affidavit as Exhibit D rather than

the letter from Community Lawyers Group.

4.        Attached hereto as Exhibit A is an updated affidavit with the correct attachment for Exhibit

D. Exhibit A.

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5.        SWC respectfully requests this Court to substitute the attached Exhibit A in place of the

one filed with Defendant’s Motion for Summary Judgment.

6.        Defendant made a simple clerical error in attaching the incorrect letter to Doc. 40-2.

Plaintiff’s service cancellation letter was already attached as part of the Exhibit E deposition

transcript and exhibits. Doc. 40-6. Substitution of the correct letter is proper and would not

prejudice Plaintiff in any way.

7.        Exhibit D was titled correctly and referenced correctly in Defendant’s Motion for Summary

Judgment. Doc. 40 at 7-8; Doc. 40-2. The only mistake was in attaching Plaintiff’s letter rather

than Plaintiff’s counsel’s letter.

                                                      CONCLUSION

          WHEREFORE, PREMISES CONSIDERED, Defendant Southwest Credit Systems, L.P.

respectfully requests this Court grant this motion and substitute the attached corrected affidavit.

Dated: May 16, 2019.                                           Respectfully submitted,
                                                               MALONE FROST MARTIN PLLC
                                                               /s/ Robbie Malone
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                                                               COUNSEL FOR DEFENDANT
                                                               SOUTHWEST CREDIT SYSTEMS LP




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                                       CERTIFICATE OF CONFERENCE

          Counsel for Defendant Southwest Credit Systems, L.P. emailed counsel for Plaintiff
regarding the foregoing pleading on May 15, 2019, and Plaintiff is opposed.


                                                               /s/ Xerxes Martin
                                                               XERXES MARTIN




                                           CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing has been forwarded
through the CM/ECF system on this 16th day of May, 2019.
 Celetha Chatman                                                                     Andrew Finko
 Michael Wood                                                                        Andrew Finko P.C.
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                                                               /s/ Xerxes Martin
                                                               XERXES MARTIN




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